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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION


 RONEN HELMANN, CAMERON                     Case No.:2:24-cv-05704-SVW-PVC
 HIGBY, and JUDIT MAULL,
                                            FIRST AMENDED COMPLAINT
                Plaintiffs,                 DEMAND FOR JURY TRIAL
       v.

 CODEPINK WOMEN FOR PEACE, a
 California entity, CODEPINK ACTION
 FUND, a California entity, HONOR THE
 EARTH, a Minnesota entity,
 COURTNEY LENNA SCHIRF, and
 REMO IBRAHIM, d/b/a PALESTINIAN
 YOUTH MOVEMENT, and JOHN AND
 JANE DOES 1-20,
               Defendants.
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 1                                       INTRODUCTION

 2          1.    Plaintiff RONEN HELMANN is a religious Jew who resides in the Pico-

 3    Robertson neighborhood of Los Angeles, CA. He is an active member of the Jewish
 4
      community. On June 23, 2024, Helmann tried to enter the Adas Torah Synagogue but
 5
 6    was blocked by a violent mob of anti-Israel activists. Plaintiff CAMERON HIGBY is

 7    resident of Sherman Oaks who came as a journalist to film video and take pictures, when
 8
      a person with a keffiyeh covering most of his face sprayed him with bear spray. Plaintiff
 9
10    JUDIT MAULL also resides in Pico-Robertson. Her car was blocked from crossing the

11    street outside the synagogue, so she parked, and was standing next to people defending
12
      the synagogue, when she and others were bear sprayed.
13
14          2.    CODEPINK WOMEN FOR PEACE, CODEPINK ACTION FUND,
15    (together “Code Pink”) COURTNEY LENNA SCHIRF (“Defendant” or “Ms. Schirf”),
16
      and REMO IBRAHIM, (“Defendant,” or “Mr. Ibrahim”) on behalf of HONOR THE
17
18    EARTH d/b/a PALESTINIAN YOUTH MOVEMENT (“Defendant” or “PYM”)
19    (together, “Defendants”) organized their Hamas supporters to target and converge on a
20
      single local Jewish place of worship, Adas Torah Synagogue on Pico Boulevard, in the
21
22    heart of the Los Angeles Jewish community.
23          3.    Defendants incited and instigated the entire attack by creating a new blood
24
      libel – that an “international war crime” was about to occur at a Adas Torah.
25
26
27
28


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 1          4.     Defendants formed a mob that blocked the entrance, preventing Plaintiff

 2    Helmann and others from accessing the synagogue. They bear sprayed Jewish people and
 3
      others present, including Plaintiff Cameron Higby and Plaintiff Judit Maull.
 4
 5          5.     The attack was organized, publicized, aided, and funded by Code Pink and

 6    PYM, two organizations that seek to destroy the Jewish state of Israel, and joined by Ms.
 7
      Schirf, PYM’s lead organizer, and Mr. Ibrahim, PYM’s lead organizer for PYM’s local
 8
 9    chapter, JOHN AND JANE DOE 1-20 (together, “Defendants”) in an unlawful effort to

10    use violence, intimidation, and threats to prevent Jewish people from accessing the
11
      synagogue and exercising their religion.
12
13          6.     Defendants conspired together to violate Plaintiffs’ civil rights recognized

14    under the Freedom of Access to Clinic Entrances Act (“FACE” Act) and two provisions
15
      of the Ku Klux Klan Act.
16
17          7.     Defendants’ conspiratorial acts directly resulted in violence and threats
18    against Jews who sought to access a synagogue, and others who sought to freely
19
      assemble and film public events pursuant to their Constitutional rights.
20
21                                            PARTIES
22          8.     Plaintiff Ronen Helmann is a resident of the Pico-Robertson neighborhood
23    of Los Angeles, California.
24
            9.     Plaintiff Judit Maull is a resident of the Pico-Robertson neighborhood of Los
25
26    Angeles, California.
27
28


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 1          10.   Plaintiff Cameron Higby was at all relevant times a resident of Los Angeles,

 2    California. He currently resides in Seattle, Washington.
 3
            11.   Defendant CodePink Women for Peace is a registered California entity and
 4
 5    501(c)(3) non-profit organization that supports the terrorist organization Hamas and

 6    opposes the state of Israel. Code Pink used social media and/or other means to incite
 7
      followers to converge in front of a synagogue in Los Angeles on June 23, 2024, and to
 8
 9    use fear and intimidation tactics to prevent Jewish people from entering the synagogue.

10    Code Pink’s headquarters are located in Marina Del Rey, California.
11
            12.   Defendant CodePink Action Fund is a registered California entity and
12
13    501(c)(4) non-profit organization that is an alter ego of Codepink Women for Peace with

14    the same headquarters and leadership.
15
            13.   Defendant Honor the Earth d/b/a Palestinian Youth Movement (“PYM”) is a
16
17    Minnesota registered 501(c)(3) that supports Hamas and opposes the state of Israel and
18    used social media and/or other means to incite followers to converge in front of a
19
      synagogue in Los Angeles on June 23, 2024, and to use fear and intimidation tactics to
20
21    prevent Jewish people from entering the synagogue. PYM is not registered to do business
22    in any jurisdiction, but it coordinates fundraising through Honor the Earth. PYM was
23
      previously a fiscally sponsored project of the Westchester People’s Action Coalition
24
25    (WESPAC), based out of Westchester, New York. Honor the Earth’s primary address is
26    currently 607 Main Ave. Callaway, MN, 56521. Honor the Earth’s registered agent is
27
28


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 1    Northwest Registered Agent LLC, 202 N. Cedar Ave. Ste. 1, Owatonna, MN 55060–

 2    2306.
 3
              14.   Defendant Courtney Lenna Schirf d/b/a PYM is the lead organizer for PYM.
 4
 5    Ms. Schirf is a citizen of Austin, Texas. Ms. Schirf has control over PYM’s social media

 6    profiles. Ms. Schirf organized and instigated the attack on Torah Adas by posting on
 7
      PYM’s Instagram and other social media profiles.
 8
 9            15.   Defendant Remo Ibrahim d/b/a PYM is the head of the local chapter of the

10    Palestinian Youth Movement for Los Angeles, Orange County, and the Inland Empire.
11
      Mr. Ibrahim is a citizen of Los Angeles, California. Mr. Ibrahim has control over the
12
13    local chapter of PYM’s social media profiles. Mr. Ibrahim organized and instigated the

14    attack on Torah Adas by posting on PYM’s Instagram and other social media profiles.
15
      After the attack, he gave an interview taking credit for “confronting Zionism and white
16
17    supremacy.”
18            16.   Defendants John and Jane Does 1-20 are unknown individuals who assaulted
19
      and threatened Plaintiff or joined in the conspiracies alleged in this Complaint through
20
21    their planning, support, encouragement, and/or funding.
22                                 JURISDICTION AND VENUE
23            17.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and
24
      1343 because Plaintiff’s federal claims arise under the laws of the United States.
25
26
27
28


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 1           18.    Venue is proper in this Court pursuant to 28 U.S.C.§ 1391(b)(2) because

 2    substantial conduct giving rise to Plaintiffs’ claims occurred in the Central District of
 3
      California.
 4
 5           19.    This Court has personal jurisdiction over all Defendants pursuant to Fed. R.

 6    Civ. P. 4(k)(1)(A) because Defendants and their agents caused injuries to Plaintiffs by
 7
      acts and omissions inside, or having an effect in this district and in the State of California.
 8
 9      DEFENDANTS INFORM THEIR SUPPORTERS THAT A “WAR CRIME” IS
               ABOUT TO OCCUR AT ADAS TORAH SYNAGOGUE
10
             20.    Defendants rallied their Hamas supporters to attack people and block Jewish
11
12    people from going to an Israel related event at Adas Torah.

13           21.    Defendants’ strategy is to blame their grievances with Israel on one unlucky
14
      local synagogue – by telling their supporters that the local synagogue is part of an
15
16    “international war crime” that is about to occur.

17           22.    Adas Torah was hosting an Israel related event that day. The event included
18
      religious education, information, and opportunities for members of the Los Angeles
19
20    Jewish community to make Aliyah, or to fulfil their Biblical obligation to live in the land

21    of Israel.
22
             23.    Defendants targeted these Jewish practices to incite their supporters to cause
23
24    chaos, violence, and block the entrance to the synagogue, all because of their hatred of

25    Zionism, the Jewish connection to the land of Israel.
26
27
28


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 1           24.    On June 20, 2024, Defendant Code Pink targeted the synagogue in the Pico-

 2    Robertson neighborhood of Los Angeles on social media by telling their supporters that
 3
      “A Mega Zionist Real Estate Event Is in LA this week.”
 4
 5           25.    Code Pink incited its followers to “Bring flags, posters and megaphones. No

 6    Peace on Stolen Land.”
 7
             26.    PYM also called on its followers to target the event as well.1 Defendant
 8
 9    Schirf controls PYM’s social media generally and Defendant Ibrahim controls PYM’s

10    social media for the Los Angeles local chapter.
11
             27.    Schirf and Ibrahim promoted the attack under the name of PYM on their
12
13    Instagram profiles.

14           28.    Protest fliers posted on social media said, “Our Land Is Not For Sale," and
15
      condemned “land theft,” according to a PYM Instagram post from the local chapter of the
16
17    Palestinian Youth Movement.2
18           29.    “Racist settler expansionists are not welcome in Los Angeles!” said PYM
19
      LA. “This blatant example of land theft is operating in our own backyard. The Nakba [the
20
21
22
23
24
      1
25     See Starr, Michael. “LA Synagogue Riots Show US Not Taking Anti-Israel Threats Seriously.” The
      Jerusalem Post, 25 June 2024, www.pressreader.com/israel/jerusalem-
26    post/20240625/281732684668553 (last accessed 3 July, 2024).
      2
27     See Solis, Nathan, et al. “Protest Violence Outside L.A. Synagogue Spurs Widespread Condemnation.
      Bass Vows Quick Action.” Los Angeles Times, 23 June 2024, https://www.yahoo.com/news/pro-
28    palestinian-activists-israel-supporters-020157335.html (last accessed 31 July, 2024).



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 1    catastrophe that was the founding of the state of Israel] is ongoing and must be

 2    confronted!”3
 3
                      DEFENDANTS ATTACK ADAS TORAH SYNAGOGUE
 4
             30.    On Sunday, June 23, 2024, about two hundred anti-Israel protestors gathered
 5
      to block access to the synagogue.
 6
 7           31.    Participants blocked traffic, and video shows multiple altercations broke out
 8
      in the middle of the street and on sidewalks.4
 9
10           32.    Videos taken at the scene show police pushing pro-Palestinian protesters

11    away from the entrance of the Orthodox synagogue.5
12
             33.    Chants of “Free, free Palestine - from the river to the sea,” and “long live
13
14    intifada,” could be heard from among the pro-Palestinian protesters.

15           34.    Police arrested JOHN DOE 1, who was carrying a spiked post, for
16
      possessing a prohibited item.6
17
18
19
20
21
      3
        See Starr, Michael. “Anti-Israel Protesters Beat, Bear Mace Jews, Journalists at LA Synagogue.” The
22    Jerusalem Post, 24 June 2024, https://www.jpost.com/breaking-news/article-807411 (last accessed 31
23    July, 2024).
      4
        Id.
24    5
       See Von Quednow, Cindy, and Eric Levenson. “Pro-Palestinian Protest Outside LA Synagogue
25    Criticized as ‘Antisemitic’ after Street Fights with Pro-Israel Protesters.” CNN, Cable News Network,
      24 June 2024, (www.cnn.com/2024/06/24/us/los-angeles-synagogue-palestinian-israeli-protest-
26    violence/index.html) last accessed 31 July, 2024.
      6
27     See “Person with spiked post arrested in clash outside Los Angeles synagogue.” NBC Los Angeles, 24
      June 2024, https://www.nbclosangeles.com/news/local/arrest-la-synagogue-protest-israel-
28    palestine/3443019/ (last accessed 7 July, 2024).



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 1              35.   There were several violent attacks on synagogue supporters.7

 2              36.   Defendants and their supporters were armed with and used bear spray –
 3
      strong enough to repel bears – and not meant for humans.
 4
 5              37.   Pico-Robertson resident Talia Regev, 42, tried to attend the synagogue

 6    event, but was bear-sprayed.8
 7
                38.   Naftoli Sherman, 25, suffered a broken nose and a black eye after being
 8
 9    attacked by rioters that day.9

10                     FACTS SPECIFIC TO PLAINTIFF RONEN HELMANN
11
                39.   Plaintiff Ronen Helmann was walking in the Pico Robertson neighborhood
12
13    where he resides and where Adas Torah is located. Helmann frequently congregates and

14    prays at Adas Torah.
15
                40.   Helmann noticed JANE DOES 1-3, women who were wearing headscarves
16
17    and masks covering their faces, walking from house to house.
18              41.   Helmann saw JANE DOES 1-3 were checking the doors of the houses for
19
      Mezuzahs (typically seen on doorposts of Jewish homes). They appeared to be taking
20
21    pictures of houses with Mezuzahs.
22
23
      7
       See “L.A.’s Adas Torah Violently Attacked by Pro-Palestinian Protestors at Real Estate Event.” The
24    Jewish Link, 27 June 2024, jewishlink.news/l-a-s-adas-torah-violently-attacked-by-pro-palestinian-
25    protestors-at-real-estate-event/ (last accessed 3 July, 2024).
      8
          Id.
26    9
       See Bandler, Aaron. “Jewish Community Members Attacked by Anti-Israel Protesters in Front of Adas
27    Torah Speak Out.” Jewish Journal, 27 June 2024, jewishjournal.com/news/372674/jewish-community-
      members-attacked-by-anti-israel-protesters-in-front-of-adas-torah-speak-out/ (last accessed 7 July,
28    2024).


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 1           42.    Helmann also noticed JANE DOES 1-3 were marking the cars that they

 2    suspected were associated with houses with Mezuzahs. They were communicating on cell
 3
      phones.
 4
 5           43.    Plaintiff became frightened, so he began walking towards Adas Torah to

 6    congregate with other community members and pray for the safety of the synagogue.
 7
             44.    As he got closer to the synagogue, Plaintiff saw a mob of anti-Israel
 8
 9    protesters (JOHN DOES 2-11) standing in the way of the entrance to the synagogue.

10           45.    Helmann saw JOHN DOES 2-11 had backpacks and bear spray. They were
11
      wearing masks. He was afraid they may have other weapons.
12
13           46.    As Helmann walked towards Adas Torah, JOHN DOES 2-11 approached

14    Plaintiff with cameras and came right up to his face and took pictures of him.
15
             47.    JOHN DOES 2-10 came very close to Helmann’s face and started yelling at
16
17    him.
18           48.    JOHN DOE 2 yelled at Helmann calling him a “nazi.” JOHN DOE 3 yelled,
19
      “Hitler didn’t finish the job.” JOHN DOE 4 yelled, “baby murderer.” JOHN DOE 5
20
21    yelled “colonizers.” JOHN DOE 6 said, “to which God are you praying?” JOHN DOE 7
22    yelled, “leave the neighborhood, we are coming!” JOHN DOE 8 yelled itbach el yehud
23
      (“slaughter the Jews” in Arabic). JOHN DOES 9-11 yelled other racial and ethnic slurs
24
25    about Jews.
26
27
28


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 1          49.    Because of the intimidating and threating presence and conduct of the

 2    Defendants, Plaintiff decided it was not safe to enter the synagogue to pray, so Plaintiff
 3
      instead returned to his home.
 4
 5                  FACTS SPECIFIC TO PLAINTIFF CAMERON HIGBY

 6          50.    Plaintiff Cameron Higby is a journalist and videographer. He commonly
 7
      covers protests, and he recently covered university encampments at UCLA.
 8
 9          51.    Mr. Higby attended the event as a journalist to take videos and post updates

10    to the public and his followers on social media. At all times during the incident, he was
11
      wearing his press credentials.
12
13          52.    For a couple of hours, Higby was filming in front of the synagogue. Then, he

14    stepped out onto the street and continued filming in front of the synagogue.
15
            53.    After about two minutes, Plaintiff Higby noticed JOHN DOE 12 wearing a
16
17    keffiyeh covering his entire face spraying someone with bear spray. Mr. Higby turned his
18    camera to film the person spraying.
19
20
21
22
23
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 1          54.    Higby thought he would be spared because of his press credentials, but as he

 2    saw JOHN DOE 12 briefly look down at his press credentials, JOHN DOE 12 extended
 3
      his arm out towards Higby, and bear sprayed him in the face.
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
            55.    The bear spray dripped down Mr. Higby’s face and chin, and he felt like his
17
18    whole body was on fire.

19          56.    Mr. Higby was in excruciating pain from the bear spray. He could not see,
20
      and his breathing was impaired. It took an hour and a half for him to regain his eyesight.
21
22                    FACTS SPECIFIC TO PLAINTIFF JUDIT MAULL

23          57.    Plaintiff Judit Maull is a film producer who was driving home eastbound on
24
      Pico from an appointment in Brentwood. A large crowd was forming in the area around
25
26    the synagogue and the streets were blocked off. She parked her car to find out what was
27    going on in her neighborhood.
28


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 1          58.    As she walked towards the synagogue, she saw people wearing keffiyehs

 2    and masks. She observed someone wearing a mask putting rocks in a sock he was
 3
      holding. She was concerned that it was going to be used as a weapon. She also watched a
 4
 5    man brandish what looked like a spear and thrust it towards Jewish people in a

 6    threatening manner.
 7
            59.    As she was walking back to her car, she heard someone telling a
 8
 9    neighborhood resident “I know where you live.”

10          60.    As the crowd around the synagogue grew, Ms. Maull stood next to people
11
      singing songs to drown out the noise.
12
13          61.    Then, someone bear sprayed her and the people she was standing next to.

14          62.    After she was sprayed, her lungs felt like they were burning.
15
            63.    To this day, Ms. Maull has continuing symptoms. Her lungs continue to feel
16
17    irritated. She is unable to take deep breaths, and it is difficult for her to catch her breath.
18          64.    Due to her symptoms, Ms. Maull is forced to use an inhaler and seek
19
      continued medical treatment from a lung specialist.
20
21              PUBLIC OFFICIALS CONDEMN THE ANTISEMITIC ATTACKS
22          65.    Rabbi Dovid Revah of Adas Torah told KABC that people were “scared to
23
      come in” to the synagogue, and that these types of protests are “a violation of holy
24
25    space.”
26          66.    Many public officials responded by condemning the antisemitic attacks.
27
28


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 1             67.     “[Sunday’s] violence was abhorrent, and blocking access to a place of

 2    worship is unacceptable,” said Los Angeles Mayor Karen Bass. “I want to be clear that
 3
      Los Angeles will not be a harbor for antisemitism and violence. Those responsible for
 4
 5    either will be found and held accountable.”

 6             68.     President Biden wrote on X that he was “appalled” by the scene outside
 7
      Adas Torah. “Intimidating Jewish congregants is dangerous, unconscionable, antisemitic
 8
 9    and un-American.”

10                DEFENDANTS TAKE CREDIT AND JUSTIFY THE ATTACK
11             AS RESISTANCE AGAINST “ZIONISM AND WHITE SUPREMACY”

12             69.     After the incident, Defendants took credit for the attack and attempted to

13    defend their conduct on social media.
14
               70.     Defendants disputed President Biden’s and Karen Bass’ comments that the
15
16    attack on Adas Torah was antisemitic. Code Pink justified the attack on the synagogue on

17    the basis that “no religious services were scheduled.”10
18
               71.     Defendant Ibrahim gave an interview after the attack, where he proudly
19
20    stated: “This real estate event was advertised for weeks, the LA community was

21    outraged, and we showed up, because we show up to confront Zionism and white
22
      supremacy wherever it manifests, that’s the bottom line.”11
23
24
25
26    10
           See “Biden Lies.” CODEPINK, https://www.codepink.org/bidenlies (last accessed 7 July, 2024).
      11
27      See Halper, Katie. “Israel Supporters & Cops ASSAULT Protestors Outside Israeli Real Estate Sale In
      LA.” The Katie Halper Show, 27 June 2024, www.youtube.com/watch?v=HronOS_qElU (last accessed
28    15 Aug. 2024).



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 1               72.   Ibrahim said that the comments condemning antisemitism by President

 2    Biden, Governor Newsom, and Mayor Bass amounted to “targeting the protesters of
 3
      genocide” and “endorsing this war crime that took place within their own borders. They
 4
 5    are endorsing this crime under the Geneva convention.”12

 6               73.   Plaintiff Helmann fears that Defendants could target his neighborhood and
 7
      synagogue with similar tactics soon, or worse. Plaintiff Maull also fears Defendants will
 8
 9    target her neighborhood again.

10                                         CLAIMS FOR RELIEF
11                                              COUNT I
12                                   FACE Act (18 U.S.C. § 248(a)(2))
                                   Freedom of Access to Clinic Entrances
13                                       (Against All Defendants)
14
                 74.   Plaintiffs incorporate herein by reference all the allegations contained in the
15
      preceding paragraphs.
16
17               75.   The Freedom of Access to Clinic Entrances Act of 1994 (“FACE Act”)
18
      prohibits a person from intentionally injuring, intimidating, or interfering with another
19
      who is exercising her religion “at a place of religious worship.” 18 U.S.C. § 248(a)(2).
20
21               76.   Defendants willfully, knowingly, and intentionally combined, conspired, and
22
      agreed with one another, and with other persons and entities known and unknown, to use
23
24    force, the threat of force, and physical obstruction to injure, oppress, threaten, and

25
26
27
28    12
           Id.


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 1    intimidate Jewish people (including Plaintiff) seeking to exercise and enjoy his right of

 2    religious freedom at a place of religious worship, secured by the First Amendment.
 3
            77.    As described herein, Plaintiff Hellman desired and intended to pray at his
 4
 5    synagogue, Adas Torah, on June 23, 2024, and was blocked from entering the synagogue

 6    by Defendants.
 7
                                             COUNT II
 8                            Ku Klux Klan Act (42 U.S.C. § 1985(3))
 9                            Conspiracy to Interfere with Civil Rights
                                     (Against All Defendants)
10
            78.    Plaintiffs incorporate herein by reference all the allegations contained in the
11
12    preceding paragraphs.
13
            79.    United States Code Title 42 Section 1985(3) states that if two or more
14
      persons in any state “conspire to go in disguise on the highway or on the premises of
15
16    another, for the purpose of depriving, either directly or indirectly, any person or class of
17
      persons of the equal protection of the laws, or of equal privileges and immunities under
18
      the laws … if one or more persons engaged therein do, or cause to be done, any act in
19
20    furtherance of the objects of such conspiracy, whereby another is injured in his person or
21
      property, or deprived of having and exercising any right or privilege of a citizen of the
22
23    United States, the party so injured or deprived may have an action for the recovery of

24    damages occasioned by such injury or deprivation, against any one or more of the
25
      conspirators.”
26
27          80.    Defendants conspired together to disguise in masks for the purpose of

28    depriving Jewish people, including Plaintiff Ronen Helmann, of the equal protection of


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 1    the laws and equal privileges and immunities under the laws, and Plaintiff was injured

 2    due to the actions of Defendants.
 3
            81.    Defendants conspired together to disguise in masks for the purpose of
 4
 5    depriving people, including Plaintiff Cameron Higby and Plaintiff Judit Maull, of the

 6    equal protection of the First Amendment right to assembly, and Plaintiffs were injured
 7
      due to the actions of Defendants.
 8
 9                                        COUNT III
                               Ku Klux Klan Act (42 § U.S.C. 1986)
10                 Failure to Prevent Conspiracy to Interfere with Civil Rights
11                                  (Against All Defendants)

12          82.    Plaintiffs incorporate herein by reference the allegations contained in all
13
      preceding paragraphs.
14
            83.    Section 6 of the Ku Klux Klan Act (42 U.S.C. § 1986) makes liable any
15
16    person who knows that the wrongs conspired to be done and mentioned in section 1985
17
      are about to be committed, has the power to preventor aid in preventing those wrongs,
18
      and yet neglects or refuses to help prevent them.
19
20          84.    Each Defendant had knowledge that the wrongs conspired to be done, as set
21
      out in Count II, were about to be committed and neglected or refused to prevent or aid in
22
23    preventing those wrongs.

24          85.    Each Defendant was in a position and had the power to prevent, or aid in the
25
      preventing, the wrongs conspired to be done as asserted in Count II.
26
27          //

28          //


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 1                                           COUNT IV
                                       Cal. Penal Code § 423.2
 2                              Threatening and Intimidating Persons
 3                                    (Against All Defendants)

 4          86.    Plaintiffs incorporate herein by reference the allegations contained in all
 5    preceding paragraphs.
 6
            87.    The California FACE Act, Cal. Pen. Code § 423.2, provides that “[e]very
 7
 8    person who . . . [b]y force, threat of force, or physical obstruction that is a crime of
 9
      violence, intentionally injures, intimidates, interferes with, or attempts to injure,
10
      intimidate, or interfere with a person lawfully exercising or seeking to exercise the First
11
12    Amendment right of religious freedom at a place of religious worship,” can be held
13
      civilly liable. Cal. Pen. Code § 423.2(b). Section 423.4 provides that “[a] person
14
      aggrieved by a violation of” the California FACE Act “may bring a civil action to enjoin
15
16    the violation, for compensatory and punitive damages, and for the costs of suit and
17
      reasonable fees for attorneys and expert witnesses,” so long as the plaintiff is either a
18
      person “lawfully exercising or seeking to exercise the First Amendment right of religious
19
20    freedom in a place of religious worship, or the entity that owns or operates a place of
21
      religious worship.” Id. § 423.4(a).
22
23          88.    And “[w]ith respect to compensatory damages, the plaintiff may elect, at any

24    time prior to the rendering of a final judgment, to recover, in lieu of actual damages, an
25
      award of statutory damages in the amount of one thousand dollars ($1,000) per
26
27    exclusively nonviolent violation, and five thousand dollars ($5,000) per any other

28    violation, for each violation committed.” Id.


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 1          89.    Finally, “[e]very person who . . . [i]ntentionally damages or destroys the

 2    property of a place of religious worship,” can be held civilly liable. Id. § 423.2(f).
 3
            90.    Adas Torah is a place of religious worship for purposes of the California
 4
 5    FACE Act. Id. § 423.2(b).

 6          91.    Plaintiff Helmann seeking to congregate and pray at Adas Torah involves
 7
      the “exercise [of] the First Amendment right of religious freedom at a place of religious
 8
 9    worship.” Id.

10          92.    On June 23, 2024, Plaintiff Helmann was “seeking to exercise the First
11
      Amendment right of religious freedom at a place of religious worship,” namely Adas
12
13    Torah, Defendants and their supporters either forcefully prevented them from doing so or

14    attempted to forcefully prevent them from doing so. See id.
15
            93.    Defendants and their supporters, “[b]y force, threat of force, or physical
16
17    obstruction,” “intentional[ly] injure[d], intimidate[d], interfere[d] with,” and “attempt[ed]
18    to injure, intimidate, or interfere with” the worship services being held at Adas Torah on
19
      June 23, 2024. See id. § 423.2(b).
20
21          94.    Each of Defendants helped plan, organize, advertise, and fund the violent
22    mob that threatened and intimidated the individuals lawfully exercising or seeking to
23
      exercise their First Amendment right of religious freedom at Adas Torah or their First
24
25    Amendment right of free assembly in the neighborhood around Adas Torah.
26          95.    The mob organized by Defendants prevented Plaintiff Helmann from
27
      exercising his First Amendment right of religious freedom at Adas Torah, and Plaintiffs
28


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 1    Higby and Maull from exercising their First Amendment rights to assemble in the nearby

 2    neighborhood.
 3
             96.    Defendants and the Members of Code Pink and Palestinian Youth
 4
 5    Movement, upon receiving encouragement from Defendants, participated in the violence

 6    that prevented Plaintiffs from .
 7
             97.    Defendants’ actions violated the California FACE Act which harmed
 8
 9    Plaintiffs.

10           98.    Plaintiffs seek $5,000 per violation committed by Defendants, and $1,000
11
      per nonviolent violation committed by Defendant Organizations’ members or actual
12
13    damages, whichever is greater, jointly and severally.

14           99.    Plaintiffs seek the maximum statutory damages under the California FACE
15
      Act, as well as temporary, preliminary, or permanent injunctive relief; punitive damages;
16
17    and the costs of this suit and reasonable attorneys’ fees.
18                                       PRAYER FOR RELIEF
19           Wherefore, Plaintiffs respectfully request an award of the following relief:
20
             A.     Enter judgment against each Defendant, jointly and severally, under 18
21
22                  U.S.C. § 248, 42 U.S.C. §§ 1985, 1986, and Cal. Penal Code § 423.2, in the
23                  amount of the following: $5,000 for each violation of the FACE ACT;
24
                    $5,000 for each violent violation of the California FACE Act; and $1,000 for
25
26                  each nonviolent of the California FACE Act by each member of Defendant,
27                  or actual damages, whichever is greater;
28


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 1          B.    Appropriate injunctive relief;

 2          C.    Compensatory damages in an amount to be determined by the jury at trial;
 3
            D.    Punitive damages in an amount to be determined by the jury at trial;
 4
 5          E.    An award of reasonable attorneys’ fees and costs pursuant to 18 U.S.C. §

 6                248, 42 U.S.C. § 1988, Cal. Penal Code § 423.2;
 7
            F.    Such other relief as the Court deems necessary and just.
 8
 9                                         JURY DEMAND

10          Plaintiffs demand a jury trial on all issues triable.

11
12          Dated: August 16, 2024            Respectfully submitted,

13
                                         By: /s/ Mark L. Javitch
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